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 9   BMG RIGHTS MANAGEMENT (US) LLC
     and RIGHTSCORP, INC.
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11
                      UNITED STATES DISTRICT COURT
12
                FOR THE CENTRAL DISTRICT OF CALIFORNIA
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14
      COX COMMUNICATIONS, INC.,             Case No.: 2:21-cv-03756-E
15                                          Magistrate Judge Charles F. Eick
                  Plaintiff,
16
           v.                               ORDER EXTENDING TIME FOR
17                                          DEFENDANTS TO RESPOND TO
      BMG RIGHTS MANAGEMENT                 PLAINTIFF’S COMPLAINT BY
18    (US) LLC and RIGHTSCORP,
      INC.,                                 NOT MORE THAN 30 DAYS (L.R.
19                                          8-3)
                  Defendants.
20
                                            Date Action Filed: May 3, 2021 Current
21                                          Response Date: June 22, 2021 Proposed
22                                          Response Date: July 13, 2021
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27
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                                  ORDER
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 1         On June 21, 2021, the Parties filed a stipulation to extend the deadline for
 2   Defendants BMG Rights Management US LLC and Rightscorp, Inc.
 3
     (“Defendants”) to respond to the Complaint. Good cause appearing, the Parties’
 4
 5   stipulation is adopted.
 6
           IT IS HEREBY ORDERED THAT:
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 8         The last day for Defendants to file a response to the Complaint is extended
 9
     from June 22, 2021 until and including July 13, 2021.
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11
12   DATED: 6/21/2021                                  /s/ Charles F. Eick
                                                   ________________________
13                                                 Honorable Charles F. Eick
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                                     ORDER
